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                                                              November 2, 2020
                                                   The sentencing is adjourned to February 25, 2021,
Hon. Edgardo Ramos                                 at 10:30 a.m. The revised PSR disclosure schedule
Thurgood Marshall United States Courthouse         is approved.
40 Centre Street
New York, NY 10007                                 SO ORDERED.

       Re:    United States v. Lorenzo Babrow
              18 Cr. 263 (ER)
                                                                             11/5/2020
Dear Judge Ramos:

       Louis Freeman and I are counsel for Lorenzo Babrow, who is detained at the Westchester
County Jail. We respectfully request that Mr. Babrow’s sentencing hearing, currently scheduled
for December 14, 2020, be adjourned for approximately ninety days. If that application is
granted, we request that the first PSR disclosure be due on January 27, 2021, and the final
disclosure be due on February 22, 2021.

       Your Honor granted two prior requests for an adjournment, and the original sentence date
was June 5, 2020.

       Mr. Babrow is currently detained at the Westchester County Jail. With Mr. Babrow’s
consent, I declined to conduct the Presentence interview remotely. Due to the seriousness of the
charges, the defense prefers to have an in-person interview.

       Assistant United States Attorneys Jessica Feinstein, Margaret Graham, and Chris DiMase
inform us that the Government consents to this request.


                                             Sincerely,

                                             /s/

                                             Donald J. Yannella, Esq.
